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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION


  CATHX RESEARCH LTD.,                               §
                                                     §
                 Plaintiff,                          §
                                                     §
  v.                                                 §     Civil Action No.: 5:21-cv-00077-RWS
                                                     §
  2G ROBOTICS INC. A/K/A VOYIS                       §
  IMAGING, INC.,                                     §
                                                     §
                 Defendant.


                      SEVENTH AMENDED DOCKET CONTROL ORDER

       Before the Court is the parties’ Joint Motion for Entry of a Revised Docket Control Order.

Docket No. 201. Having considered the motion, the Court finds that it should be GRANTED.

Accordingly, it is

       ORDERED that the trial date (previously set for November 27, 2023) is RESET to January

22, 2024, and that the pretrial conference date (previously set for November 7, 2023) is RESET to

December 19, 2023. Accordingly, it is

       ORDERED that the following schedule of deadlines is in effect until further order of this Court:

3 DAYS after              Parties to file Motion to Seal Trial Exhibits, if they wish to seal any highly
conclusion of Trial       confidential exhibits.

                          EXHIBITS: See Order Regarding Exhibits below.
Trial Date                9:00 a.m. JURY TRIAL before Judge Robert W. Schroeder III,
                          Texarkana, Texas.
January 22, 2024
                          For planning purposes, parties shall be prepared to start the evidentiary
Court designated date –   phase of trial immediately following jury selection.
not flexible without
good cause – Motion
Required
January 22, 2024          9:00 a.m. JURY SELECTION before Judge Robert W. Schroeder III,
                          Texarkana, Texas.
Court designated date –
not flexible without
good cause – Motion
Required
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December 19, 2023         10:00 a.m. PRETRIAL CONFERENCE before Judge Robert
                          Schroeder III, Texarkana, Texas.
Court designated date –
not flexible without      Discuss trial logistics and voir dire procedure. Resolve any pending
good cause - Motion       motions or objections.
Required
                          Lead trial counsel must attend the pretrial conference.
December 12, 2023         File a Notice of Time Requested for (1) voir dire, (2) opening
1 week before pretrial    statements, (3) direct and cross examinations, and (4) closing
                          arguments.
December 12, 2023         File Responses to Motions in Limine.
1 week before pretrial
December 5, 2023          File Motions in Limine and pretrial objections.
2 weeks before pretrial
                          The parties are ORDERED to meet and confer to resolve any disputes
                          before filing any motion in limine or objection to pretrial disclosures.
December 5, 2023          File Joint Final Pretrial Order, Joint Proposed Jury Instructions with
2 weeks before pretrial   citation to authority and Form of the Verdict for jury trials.

                          Parties shall use the pretrial order form on Judge Schroeder’s website.

                          Proposed Findings of Fact and Conclusions of Law with citation to
                          authority for issues tried to the bench.
November 28, 2023         Exchange Objections to Rebuttal Deposition Testimony.
3 weeks before pretrial
November 21, 2023         Notice of Request for Daily Transcript or Real Time Reporting of
4 weeks before pretrial   Court Proceedings due.

                          If a daily transcript or real time reporting of court proceedings is requested
                          for trial or hearings, the party or parties making said request shall file a
                          notice and email Shedera Combs at shedera_combs@txed.uscourts.gov.
November 21, 2023         Exchange Rebuttal Designations and Objections to Deposition Testimony.
4 weeks before pretrial
                          For rebuttal designations, cross examination line and page numbers to be
                          included.

                          In video depositions, each party is responsible for preparation of the final
                          edited video in accordance with their parties’ designations and the Court’s
                          rulings on objections.
November 20, 2023         10:00 a.m. HEARING ON ANY REMAINING DISPOSITIVE
                          MOTIONS (INCLUDING DAUBERT MOTIONS) before Judge
Court designated date –   Robert W. Schroeder III, Texarkana, Texas.
not flexible without
good cause – Motion
Required
November 7, 2023          Exchange Pretrial Disclosures (Witness List, Deposition Designations, and
6 weeks before pretrial   Exhibit List) by the Party with the Burden of Proof.


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                          Video and Stenographic Deposition Designation due. Each party who
                          proposes to offer deposition testimony shall serve a disclosure identifying
                          the line and page numbers to be offered.
October 10, 2023          Any Remaining Dispositive Motions due from all parties and any other
                          motions that may require a hearing (including Daubert motions).
Court designated date –
not flexible without      Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
good cause – Motion       Motions to extend page limits will only be granted in exceptional
Required                  circumstances. Exceptional circumstances require more than agreement
                          among the parties.

                          For each motion filed, the moving party SHALL provide the Court with one
                          (1) copy of the completed briefing (opening motion, response, reply, and if
                          applicable, surreply), excluding exhibits, in a three-ring binder
                          appropriately tabbed. All documents shall be double-sided and must
                          include the CM/ECF header. These copies shall be delivered to Judge
                          Schroeder’s chambers in Texarkana as soon as briefing has completed.

                          Respond to Amended Pleadings.
October 3, 2023           Parties to Identify Rebuttal Trial Witnesses.
1 week before
Dispositive Motions
September 28, 2023        Parties to Identify Trial Witnesses; Amend Pleadings (after Markman
2 weeks before            Hearing).
Dispositive Motions
                          It is not necessary to file a Motion for Leave to Amend before the deadline
                          to amend pleadings. It is necessary to file a Motion for Leave to Amend
                          after the deadline. However, except as provided in Patent Rule 3-6, if the
                          amendment would affect infringement contentions or invalidity contentions,
                          a motion must be made pursuant to Patent Rule 3-6 irrespective of whether
                          the amendment is made prior to this deadline.
September 27, 2023        Expert Discovery Deadline.
September 8, 2023         Parties designate rebuttal expert witnesses (non-construction issues),
                          rebuttal expert witness reports due. Refer to Local Rules for required
                          information.

                          If, without agreement, a party serves a supplemental expert report after the
                          rebuttal expert report deadline has passed, the serving party must file notice
                          with the Court stating service has occurred and the reason why a
                          supplemental report is necessary under the circumstance.
August 11, 2023           Parties to serve any supplemental expert report necessitated by the Court’s
                          Ruling on Plaintiff’s Motion to Reconsider and Clarify Aspects of the
                          Court’s Claim Construction Order (Docket. No. 105): if either party
                          believes in good faith that the Court’s Ruling on Plaintiff’s Motion to
                          Reconsider (Docket. No. 105) so requires, that party may serve a
                          supplemental expert report addressing the matters it believes in good faith


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                          to be necessitated by the Court’s ruling.
August 8, 2023            Final Election of Asserted Prior Art.
July 28, 2023             Final Election of Asserted Claims as served on July 28, 2023
Parties’ estimated        FIVE (5) DAYS
number of trial days

       In the event that any of these dates fall on a weekend or Court holiday, the deadline is
modified to be the next Court business day.

       The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure
to oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”

        A party may request an oral hearing on a motion filed with the Court. Any such request shall
be included in the text or in a footnote on the first page of the motion or any responsive pleading
thereto. The Court does not hold telephonic hearings absent unusual circumstances.

                                          Other Limitations

       (a)     The following excuses will not warrant a continuance or justify a failure to comply
               with the discovery deadline:
               (i)      The fact that there are motions for summary judgment or motions to dismiss
                        pending;
               (ii)     The fact that one or more of the attorneys is set for trial in another court on the
                        same day, unless the other setting was made prior to the date of this order or
                        was made as a special provision for the parties in the other case;
               (iii) The failure to complete discovery prior to trial, unless the parties can
                        demonstrate that it was impossible to complete discovery despite their good
                        faith effort to do so.
       (b)     Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
               the DCO shall take the form of a motion to amend the DCO. The motion shall include
               a chart in the format of the DCO that lists all of the remaining dates in one column (as
               above) and the proposed changes to each date in an additional adjacent column (if
               there is no change for a date the proposed date column should remain blank or indicate
               that it is unchanged). The motion to amend the DCO shall also include a proposed
               DCO in traditional two-column format that incorporates the requested changes and
               that also lists all remaining dates. In other words, the DCO in the proposed order
               should be complete such that one can clearly see all the remaining deadlines rather
               than needing to also refer to an earlier version of the DCO.
       (c)     Indefiniteness: In lieu of early motions for summary judgment, the parties are directed
               to include any arguments related to the issue of indefiniteness in their Markman
               briefing, subject to the local rules’ normal page limits.
       (d)     Motions in Limine: Each side is limited to one (1) motion in limine addressing no
               more than ten (10) disputed issues. In addition, the parties may file a joint motion in
               limine addressing any agreed issues. The Court views motions in limine as appropriate
               for those things that will create the proverbial “skunk in the jury box,” e.g., that, if
               mentioned in front of the jury before an evidentiary ruling can be made, would be so

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             prejudicial that the Court could not alleviate the prejudice with an appropriate
             instruction. Rulings on motions in limine do not exclude evidence, but prohibit the
             party from offering the disputed testimony prior to obtaining an evidentiary ruling
             during trial.
      (e)    Exhibits: Each side is limited to designating 250 exhibits for trial absent a showing of
             good cause. The parties shall use the exhibit list sample form on Judge Schroeder’s
             website.
      (f)    Deposition Designations: Each side is limited to designating no more than ten (10)
             hours of deposition testimony for use at trial absent a showing of good cause. As trial
             approaches, if either side needs to designate more than ten (10) hours, the party may
             file a motion for leave and show good cause. All depositions to be read into evidence
             as part of the parties’ case-in-chief shall be EDITED so as to exclude all unnecessary,
             repetitious, and irrelevant testimony; ONLY those portions which are relevant to the
             issues in controversy shall be read into evidence.
      (g)    Witness Lists: The parties shall use the sample form on Judge Schroeder’s website.

       ORDER REGARDING EXHIBITS, EXHIBIT LISTS AND WITNESS LISTS:

A.    On the first day of trial, each party is required to have:

      (1)    One copy of their respective original exhibits on hand. Each exhibit shall be properly
             labeled with the following information: Identified as either Plaintiff’s or Defendant’s
             Exhibit, the Exhibit Number and the Case Number.
      (2)    Three hard copies of each party’s exhibit list and witness list on hand.
      (3)    One copy of all exhibits on USB Flash Drive(s) or portable hard drive(s). This shall be
             tendered to the Courtroom Deputy at the beginning of trial.
      (4)    One copy of all expert reports on CD. This shall be tendered to the Courtroom Deputy
             at the beginning of trial.

B.    The parties shall follow the process below to admit exhibits.

      (1)    On the first day of trial, each party shall tender a preadmitted list of exhibits it plans to
             admit into evidence. This list shall include all exhibits which are NOT objected to or
             to which the Court has already overruled an objection. To the extent there are exhibits
             with outstanding objections for which the parties need a ruling from the Court, those
             exhibits should be separately included on the list and designated accordingly to reflect
             a pending objection. Parties shall entitle the list “[Plaintiff’s/Defendant’s] List of
             Preadmitted Exhibits.” If, during the course of the day’s testimony, a party wishes to
             offer an objected exhibit into evidence, the party may move for admission at the time
             it wishes to use that exhibit with a witness. The Court will then hear the opposing
             party’s objection and will rule on the objection at that time.

      (2)    On each subsequent day of trial, the Court will commence by formally admitting all of
             the exhibits that were either unobjected to or allowed over objection and used during
             the previous day’s trial. The Court will ask for these exhibits to be read into the record
             and formally admitted into evidence at the beginning of that trial day. These will be
             the exhibits deemed admitted at trial. The parties shall keep a separate running list of
             all exhibits admitted throughout the course of trial.

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         (3)    At the conclusion of evidence, each party shall read into the record any exhibit that
                was used but not previously admitted during the course of trial and then tender its final
                list of every admitted exhibit, entitled “[Plaintiff’s/Defendant’s] Final List of All
                Admitted Exhibits.” To the extent there are exhibits that were not admitted during the
                course of trial, but for which there is agreement that they should be provided to the
                jury, the parties must inform the Court of those exhibits at the conclusion of evidence.
                The Court will then determine whether those exhibits will be allowed into the jury
                room for deliberations.

C.       At the conclusion of evidence, each party shall be responsible for pulling those exhibits
         admitted at trial and shall tender those to the Courtroom Deputy, who will verify the exhibits
         and tender them to the jury for their deliberations. One representative from each side shall
         meet with the Courtroom Deputy to verify the exhibit list.
     .
D.       At the conclusion of trial, all boxes of exhibits shall be returned to the respective parties and
         the parties are instructed to remove these exhibits from the courtroom.

E.       Within five business days of the conclusion of trial, each party shall submit to the Courtroom
         Deputy:

         (1)    A Final Exhibit List of Exhibits Admitted During Trial in Word format.
         (2)    Two CD(s) containing admitted unsealed trial exhibits in PDF format. If the Court
                ordered any exhibits sealed during trial, the Sealed Exhibits shall be submitted on a
                separate CD. If tangible or over-sized exhibits were admitted, such exhibits shall be
                substituted with a photograph in PDF format.
         (3)    A disk containing the transcripts of Video Depositions played during trial, along with
                a copy of the actual video deposition.


         SIGNED this 7th day of August, 2023.



                                                              ____________________________________
                                                              ROBERT W. SCHROEDER III
                                                              UNITED STATES DISTRICT JUDGE




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